IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINlA
ROANOKE DIVISION

Steven Nguyen, Individually, and on behalf of all
others similarly situated under 29 U.S.

)

)

c. §216(b) §
Plaimifrs, §

v. )

§ ease No. 7: 1 s-cv-421

MACTANZ, Inc. d/b/a Mac and Bob’s Restaurant )
RoBERT ROTANZ §
JoE DIsHAW §
)
)

Defendants.

AGREED ORDER FOR EXTENSION OF TIME 'I`O FILE RESPONSIVE PLEADINGS

Defendants Robert “Bob” Rotanz and Joe Dishaw, by counsel, moved for an extension
until March 15, 2019 to file their responsive pleadings Plaintiff, through counsel, consents to
this request. Upon consideration of this motion and for good cause shown, it is hereby
ORDERED that the time for these Defendants to file their responsive pleadings is extended to

March15,2019.

ENTERED this 2244 day ofjcmu`c\§` ,2019.

Honorable Elizabeth K. Dillon
United States District Judge

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